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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               HOT SPRINTS DIVISION


CHRISTOPHER PHILLIPS, Individually and                                              PLAINTIFF
on Behalf of All Others Similarly Situated


vs.                                  No. 6:23-cv-6055-SOH


OAKLAWN JOCKEY CLUB, INC.                                                          DEFENDANT


             PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION,
                 FOR APPROVAL AND DISTRIBUTION OF NOTICE
               AND FOR DISCLOSURE OF CONTACT INFORMATION


        Plaintiff Christopher Phillips (“Plaintiff”), individually and on behalf of all others

similarly situated, by and through his attorneys Daniel Ford and Josh Sanford of Sanford

Law Firm, PLLC, for his Motion for Conditional Certification, for Approval and Distribution

of Notice and for Disclosure of Contact Information, states and alleges as follows:

        1.     Plaintiff brought this suit on behalf of certain former and current employees

of Defendant Oaklawn Jockey Club, Inc. (“Defendant”), to recover overtime wages and

other damages pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

(“FLSA”) and the Arkansas Minimum Wage Act, Ark. Code Ann. § 11-4-201, et seq.

(“AMWA”).

        2.     Plaintiff brings this action as a collective action pursuant to 29 U.S.C.

§ 216(b). Plaintiff asks this Court to conditionally certify the following collective:

      All Slot Technician Supervisors employed by Defendant since May 2, 2020.

        3.     Plaintiff and the members of the collective are sufficiently similarly situated

that conditional certification of the proposed collective is appropriate.

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       4.      Attached as Exhibits 1 and 2, respectively, are the Notice and Consent to

Join proposed by Plaintiff for distribution in this case. Attached as Exhibit 3 is the

Electronic Notice proposed by Plaintiff for electronic distribution in this case. The Notices

and Consent make no comment on the merits of the case. The Notices are narrowly

drawn to notify potential collective members of the pending litigation, the composition of

the collective and their right to “opt in” to the litigation.

       5.      Plaintiff requests a period of ninety days to distribute the Notice and file

Consent forms with this Court and requests this Court to enter an Order directing

Defendant to produce the names, last known home and work addresses, phone numbers

and email addresses of potential opt-in plaintiffs no later than seven days after the date

of the entry of the Order granting this Motion.

       6.      Plaintiff requests that this Court permit him to provide the Notice to potential

opt-in plaintiffs through U.S. Mail and email and that this Court permit Plaintiff to distribute

a follow-up reminder notice via email or U.S. Mail.

       7.      Plaintiff incorporates his Brief in Support of this Motion, filed concurrently

herewith.

       8.      In support of his Motion, Plaintiff incorporates the following exhibits:

               Ex. 1: Proposed Notice of Right to Join Lawsuit (“Notice”);
               Ex. 2: Proposed Consent to Join (“Consent to Join”);
               Ex. 3: Proposed Email Text (“Email Text”);
               Ex. 4: Proposed Reminder Postcard (“Postcard”);
               Ex. 5: Declaration of Josh Sanford; and
               Ex. 6: Declaration of Christopher Phillips.

       WHEREFORE, premises considered, Plaintiff prays that the Court conditionally

certify the proposed collective; that Defendant be ordered to provide the names and last

known mailing addresses, cell phone numbers, and email addresses of all potential
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collective members no later than seven days after the date of the entry of the Order

granting this Motion; for approval and sending of the attached Notice and Consent to Join

forms to all collective members as set forth herein, including leave to send a reminder

email (or alternatively a follow-up postcard), beginning thirty days after the opt-in period

begins, to potential plaintiffs who have not responded to the Notice; that the Court grant

counsel a period of ninety days during which to distribute the Notice and to file opt-in

plaintiffs’ Consent forms with this Court; that the Court approve of Plaintiff’s proposed

language for electronic distribution of Notice; for costs and a reasonable attorney’s fee;

and for all other relief to which Plaintiff may be entitled.

                                                       Respectfully submitted,

                                                       CHRISTOPHER PHILLIPS, Individually
                                                       and on Behalf of All Others
                                                       Similarly Situated, PLAINTIFF

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